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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION


 UNITED STATES OF AMERICA                        §
                                                 §
                                                 §
 VS.                                             §   CASE NO. 9:06-CR-30(4)
                                                 §
 RODOLFO AGUILAR                                 §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        The District Court referred this matter to the undersigned United States Magistrate Judge

 for administration of a guilty plea and allocution under Rules 11 and 32 of the Federal Rules of

 Criminal Procedure. Magistrates have the statutory authority to conduct a felony guilty plea

 proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United States v. Bolivar-

 Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

        On February 21, 2007, this cause came before the undersigned United States Magistrate

 Judge for entry of a guilty plea by the Defendant, Rodolfo Aguilar, on Count I of the charging

 Second Superseding Indictment filed in this cause.        Count I of the Second Superseding

 Indictment charges that from on or about some time in 2002 and continuing thereafter up to and

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 including the 8th day of June, 2006, in the Eastern District of Texas and elsewhere, Rodolfo

 Aguilar, aka “Roro, and twenty-four other named defendants, and others both known and

 unknown to the Grand Jury, did knowingly and intentionally conspire with other persons to

 knowingly and intentionally distribute and possess with intent to distribute 5 kilograms or more

 of a mixture or substance containing a detectable amount of cocaine, 50 grams or more of a

 mixture or substance containing a detectable amount of cocaine base aka “crack cocaine,” a

 Schedule II controlled substance, and 100 kilograms or more of a mixture or substance

 containing a detectable amount of marijuana, a Schedule I controlled substance, all in violation

 of Title 21, United States Code, Section 846.

        Defendant, Rodolfo Aguilar, entered a plea of guilty to Count I of the Second

 Superseding Indictment into the record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

        a.      That Defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

        b.      That Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal.

        c.      That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the


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 plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

 personally in open court, the Court determines that Defendant Rodolfo Aguilar’s plea is

 voluntary and did not result from force, threats or promises. See FED . R. CRIM . P. 11(b)(2).

        d.       That Defendant’s knowing, voluntary and freely made plea is supported by an

 independent factual basis establishing each of the essential elements of the offense and

 Defendant realizes that his conduct falls within the definition of the crimes charged under 21

 U.S.C. § 846.

                                  STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the government presented the following

 evidence, which was admitted into the record at the plea hearing. See Factual Resume. If the

 case proceeded to trial, the Government and Defendant agreed that the Government would

 prove, beyond a reasonable doubt, each and every essential element of the charging offenses

 charged in Count I of the Second Superseding Indictment.

         Specifically, in support, the Government would establish, through sworn testimony and

 evidence, including expert witnesses and admissible exhibits, the following facts, as stated in the

 Factual Resume:

        Defendant Aguilar was involved in a conspiracy to distribute controlled substances that

 involved JOSE REYES GARCIA, JR., aka JOSE REYES GARCIA;                              JUAN RAUL

 HIGUERA (hereinafter referred to as HIGUERA), aka RAUL HIGUERA, aka JUAN

 GARCIA, aka "Smiley" aka JUAN GONZALEZ, aka JUANRIVERA, and aka JUAN RAUL

 HIGUERA; GILBERTO VEGA (hereinafter referred to as VEGA) aka "Tiny"; JAIRO


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 ROMERO-FRAUSTO            (hereinafter   referred   to as   ROMERO-FRAUSTO);             OSCAR

 APARICIO SOLARES, (hereinafter referred to as SOLARES) aka "Flaco"; RICHARD

 SOLIS, (hereinafter referred to as SOLIS) aka "Roach"; CHRISTIAN MOYEDA (hereinafter

 referred to as MOYEDA); YESIKA CARRILLO (hereinafter referred to as CARILLO),

 MIGUEL CANEDO (hereinafter referred to as CANEDO), ANTONIO SANTOYA

 ALVAREZ (hereinafter referred to as ALVAREZ) aka "Toño", JAVIER LOPEZ (hereinafter

 referred to as LOPEZ), RUBEN ESPEJO-LOPEZ (hereinafter referred to as ESPEJO),

 PABLO PASQUAL aka FRANCISCO MALDONADO (hereinafter referred to as

 PASQUAL), VICTOR SCOTT INGRAM (hereinafter referred to as INGRAM), and JUAN

 ANTONIO RAMOS (hereinafter referred to as RAMOS), from sometime in November 2002

 up and including June 8, 2006.

        The evidence will establish that various members of the conspiracy would travel to

 locations along the Texas/Mexico border to purchase cocaine and/or marijuana and have the

 cocaine and/or marijuana transported to Angelina and Nacogdoches Counties. These counties

 are located in the Eastern District of Texas. The conspiracy would distribute cocaine, cocaine

 base, marijuana, and methamphetamine in both Angelina and Nacogodoches Counties.

 Additionally, this conspiracy would also distribute cocaine and marijuana to Oklahoma,

 Alabama, and Georgia.      Evidence will also establish that a network of more than twenty

 individuals were involved in a widespread drug trafficking organization in the Eastern District of

 Texas and the Southern District of Texas.

        In 2004, Cooperating Subject 1 (CS-1) identified REYES as the owner of the El Castillo


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 Club 2003. CS-1 identified REYES as a major distributor of multi-kilograms of cocaine. CS-1

 advised that CS-1 was a close associate of Julio Esparza. CS-1 advised that GUTIERREZ

 delivered cocaine and marijuana for REYES to Julio Esparza.

        On December 16, 2004, REYES was stopped subsequent to traffic violations an

 interviewed by law enforcement. REYES stated he was the manager of the El Castillo Club

 2003 on U.S. Highway 59 in Nacogdoches, Texas and stated he lived at 1314 Virginia Ave.,

 Nacogdoches, Texas.

        On June 10, 2005, ATF Confidential Informant 160 (hereinafter referred to as CI-160)

 and Confidential Informant 163 (hereinafter referred to as CI-163) met Alma Garcia (wife of

 REYES) at the El Castillo Club 2003 in Nacogdoches, Texas.         CI-160 and CI-163 inquired

 whether Alma Garcia knew someone who could sell them narcotics. Approximately one hour

 later, an individual identified as HIGUERA, identified himself as the nephew of Alma Garcia,

 advised that he would meet them the next day to discuss selling narcotics to CI-160 and CI-163.

        On June 11, 2005, CI-160 and CI-163 met with HIGUERA at the Las Arandas

 Restaurant in Nacogdoches, Texas to discuss purchasing cocaine from HIGUERA.               After

 negotiating the purchase of two ounces of cocaine with HIGUERA, CI-160 and CI-163

 purchased approximately two ounces of powder cocaine from LOPEZ.                  LOPEZ is a

 subordinate of HIGUERA within the organization. Physical surveillance and consensually

 recorded telephone calls between HIGUERA and CI-160 verify this transaction. This evidence

 was submitted to the Department of Public Safety Crime Lab where it was tested and it was in

 fact 53.94 grams of cocaine.


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        On July 2, 2005, CI-160 and CI-163 introduced Confidential Informant 152 (hereinafter

 referred to as CI-152) as a nephew who was interested in purchasing narcotics and/or weapons

 from HIGUERA. On this same date, CI-152 placed telephone consensually recorded calls to

 HIGUERA to arrange for the purchase of cocaine.              During these recorded telephone

 conversations, arrangements were made for CI-152 to purchase two ounces of cocaine from

 HIGUERA for $1,400. HIGUERA and LOPEZ arrived at the agreed location and HIGUERA

 sold CI-152 two ounces of cocaine for $1,400. Physical surveillance and CI-152's consensually

 recorded conversation verified this transaction. This evidence was submitted to the Department

 of Public Safety Crime Lab where it was tested and it was in fact 55.07 grams of cocaine.

        From July 12, 2005- July 14, 2005, CI-152 made contact with HIGUERA to arrange for

 the purchase of cocaine. On July 14,2005, CI-152 followed HIGUERA's directions and met

 LOPEZ at a previously arranged location and purchased two ounces of cocaine for $1,300.

 Physical surveillance and CI-152's consensually recorded conversations verified this transaction.

 This evidence was submitted to the Department of Public Safety Crime Lab where it was tested

 and it was in fact 57.19 grams of cocaine. From August 08, - August 10, 2005, CI-152 placed

 telephone calls to HIGUERA to arrange for the purchase of crack cocaine. During these

 consensually recorded telephone conversations, arrangements were made for CI-152 to purchase

 two ounces of crack cocaine from HIGUERA for $1,300. On August 10, 2005, the crack

 cocaine was delivered to CI-152 by ESPEJO, as had been arranged by HIGUERA. Physical

 surveillance and CI-152 's consensually recorded conversation verified this transaction. This

 evidence was submitted to the Department of Public Safety Crime Lab where it was tested and it


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 was in fact 43.82 grams of cocaine base.

        On September 1, 2005, HIGUERA arranged for CI-152 to meet with ESPEJO later that

 day in Nacogdoches, Texas, to purchase two ounces of cocaine for $1,300. CI-152 met ESPEJO

 in Nacogdoches, Texas, and purchased the two ounces of cocaine for $1,300.           Physical

 surveillance and CI-152's consensually recorded conversation verified this transaction. This

 evidence was submitted to the Department of Public Safety Crime Lab where it was tested and it

 was in fact 55.14 grams of cocaine.

        On September 9, 2005, after negotiating with HIGUERA over the phone, CI-152 met

 with ESPEJO and purchased approximately one ounce of methamphetamine and two pistols.

 CI-152 was instructed to follow ESPEJO to 2415 Pettit St, Nacogdoches,Texas, where CI-152

 met with HIGUERA and purchased an additional assault rifle and shotgun from HIGUERA.

 CI-152 entered the residence at 2415 Pettit St, Nacogdoches,Texas, where HIGUERA provided

 CI-152 with the assault rifle and shotgun. CI-152 paid HIGUERA for the shotgun and rifle and

 departed the residence. Physical surveillance and consensually recorded conversations verified

 this transaction. This evidence was submitted to the Drug Enforcement Administration Crime

 Lab where it was tested and it was in fact 25.4 grams of methamphetamine.

        On September 15, 2005, after negotiating with HIGUERA over the phone, CI-152

 purchased approximately one ounce of methamphetamine from ESPEJO at 1221 Rodessa St,

 Nacogdoches,Texas. During the transaction between CI-152 and ESPEJO, ESPEJO met with

 CI-152 in CI-152’s vehicle and gave CI-152 what appeared to be two ounces of

 methamphetamine.      CI-152 inquired about the amount of methamphetamine.          ESPEJO


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 contacted HIGUERA by telephone, thereafter CI-152 was advised that HIGUERA was on his

 way to 1221 Rodessa St., Nacogdoches, Texas. HIGUERA arrived and met with ESPEJO on

 the curtilage of the residence.    Subsequently, both HIGUERA and ESPEJO entered the

 residence.    Shortly thereafter, HIGUERA exited the residence and handed CI-152

 approximately one ounce of methamphetamine. Physical surveillance and consensually recorded

 conversations verified this transaction. This evidence was submitted to the Drug Enforcement

 Administration Crime Lab where it was tested and it was in fact 26.8 grams of

 methamphetamine.

        On September 29, 2005, after negotiating with HIGUERA over the phone, CI-152

 purchased approximately three ounces of cocaine from ESPEJO at 1221 Rodessa St,

 Nacogdoches, Texas. Physical surveillance and CI-152's consensually recorded conversation

 verified this transaction. This evidence was submitted to the Department of Public Safety Crime

 Lab where it was tested and it was in fact 76.64 grams of cocaine.

        On October 1, 2005, INGRAM, was caught with 556 pounds of marijuana concealed in

 the motorboat he was operating along the southern coast of Texas. The motorboat was registered

 under an alias used by HIGUERRA. INGRAM had been recruited by ANDRADE to fly to

 Texas, from California to transport the marijuana from South Texas up the Ship Channel to

 Corpus Christi.   During a subsequent debriefing, INGRAM stated that he had made two

 previous trips to go "fishing" in south Texas. The first trip was in August, 2005, in which he

 went with "JUAN GONZALEZ" (a known alias of HIGUERA) and "Roach" (Previously

 identified as SOLIS). The second trip was on Labor Day, September 5, 2005. On this trip


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 OLMEDA was stopped by a DPS Trooper at the Sarita U.S. Border Patrol checkpoint in South

 Texas. OLMEDA was driving a vehicle that was rented by INGRAM. OLMEDA was towing

 an empty boat trailer that was registered under an alias name used by HIGUERA. On this trip

 INGRAM was with "JUAN GONZALEZ", "Roach" and another male known to INGRAM

 only as "Enrique". INGRAM and the others were dropped off with the boat. INGRAM stated

 that on his third trip on October 1, 2005, he had flown into Houston Hobby airport from

 California and had rented a grey Ford Expedition. INGRAM then picked up SOLIS at a Shell

 gasoline station. INGRAM stated he had been dropped off by SOLIS to navigate the same boat

 that had been used on the previous two trips. INGRAM identified HIGUERA and ESPEJO as

 co-conspirators involved in the intercepted smuggling operation. INGRAM advised DPS these

 individuals were gang members and INGRAM was in fear concerning his safety. This evidence

 was submitted to the Department of Public Safety Crime Lab where it was tested and it was in

 fact 556 pounds of marijuana.

        On October 21, 2005, CI-152 met HIGUERA at 1221 Rodessa St, Nacogdoches, Texas.

 HIGUERA exited the residence and advised CI-152 that HIGUERA needed to go to the other

 house to get the stuff. CI-152 followed HIGUERA to 2415 Pettit St, Nacogdoches, Texas. CI-

 152 and HIGUERA entered the residence at 2415 Pettit St, Nacogdoches, Texas, where

 HIGUERA entered a back bedroom and retrieved a stainless steel revolver and handed it to CI-

 152. CI-152 purchased the pistol from HIGUERA, one ounce of methamphetamine and one

 pound of marijuana. CI-152 was instructed to travel to 1221 Rodessa St, Nacogdoches, Texas.

 CI-152 knocked on the door at 1221 Rodessa St, Nacogdoches, Texas, where CI-152 was handed


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 a plastic bag containing one ounce of methamphetamine and one pound of marijuana by

 CARRILLO.        This occurred on the porch of 1221 Rodessa St, Nacogdoches.          Physical

 surveillance and consensually recorded conversations verified this transaction. This evidence

 was submitted to the Drug Enforcement Administration Crime Lab where it was tested and it

 was in fact 26.8 grams of methamphetamine.

        On November 27, 2005, after a series of cellular telephone conversations between CI-152

 and HIGUERA, CI-152 was advised to travel to 1221 Rodessa St, Nacogdoches, Texas to meet

 ESPEJO. CI-152 met with ESPEJO where they entered the residence. CI-152 purchased

 approximately one quarter kilogram of cocaine after weighing the suspected narcotics on the

 kitchen counter. ESPEJO, CARRILLO, and a young child were present during the transaction.

 ESPEJO took CI-152 to a back room of the residence and showed CI-152 a M-16 type rifle with

 a bi-pod and scope. CI-152 was unable to purchase the rifle because ESPEJO advised that this

 particular firearm had already been sold. ESPEJO told CI-152 that he would get one just like it

 for CI-152.    Physical surveillance and consensually recorded conversations verified this

 transaction. This evidence was submitted to the Department of Public Safety Crime Lab where

 it was tested and it was in fact 243.62 grams of cocaine.

         On December 9, 2005, undercover SA Benavides and CI-152 met VEGA, at the El

 Castillo Club 2003. SA Benavides and CI-152 made contact with VEGA who was shooting

 pool with REYES. VEGA identified himself as the head bouncer at the club. SA Benavides

 and CI-152 informed VEGA they needed to talk to HIGUERA about purchasing cocaine from

 HIGUERA. VEGA contacted HIGUERA using his cell phone. VEGA told SA Benavides that


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 the next time he could contact VEGA to purchase narcotics; that it came from the same source

 anyway.

        On December 13, 2005, after negotiating with HIGUERA over the phone, CI-152

 purchased approximately two ounces of cocaine and two pistols from PASQUAL at 1221

 Rodessa St, Nacogdoches, Texas. Physical surveillance and CI-152's consensually recorded

 conversation verified this transaction. This evidence was submitted to the Department of Public

 Safety Crime Lab where it was tested and it was in fact 53.39 grams of cocaine.

        On January 5, 2006, after negotiating with HIGUERA over the phone, CI-152 purchased

 approximately two ounces of crack cocaine from CARRILLO at 1221 Rodessa St,

 Nacogdoches, Texas. During the transaction, CI-152 entered the residence at 1221 Rodessa St,

 Nacogdoches, Texas where CARRILLO directed CI-152 to a blue box on the counter and

 advised CI-152 that was his cocaine. CI-152 paid CARRILLO $1200.00 and departed the

 residence with the blue box which contained approximately two ounces of crack cocaine.

 Physical surveillance and consensually recorded conversations verified this transaction. This

 evidence was submitted to the Department of Public Safety Crime Lab where it was tested and it

 was in fact 23.57 grams of cocaine base.

        On January 12, 2006, a federal court-ordered wire intercept was initiated on the

 telephone of HIGUERA.         On the same day, intercepted communications revealed that

 HIGUERA was enroute from Oklahoma to Nacogdoches, Texas returning with cash proceeds

 from drug transactions. Surveillance was initiated on HIGUERA following him from Alto,

 Texas to 1501 W. Main St., Nacogdoches, Texas. A pole camera positioned on 1501 W. Main,


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 St., Nacogdoches, Texas established the residence as common meeting area for multiple co-

 conspirators of the organization.

        On January 13, 2006, surveillance was conducted on HIGUERA, where investigators

 observed HIGUERA in Corrigan, Texas meet with REYES. On this date REYES was followed

 to Conroe, Texas where the surveillance was terminated.

        On January 15, 2006, after negotiating with HIGUERA over the phone, CI-152

 purchased approximately three ounces of crack cocaine and an assault pistol from CARRILLO

 at 1221 Rodessa St, Nacogdoches, Texas. During the transaction, CI-152 entered the residence

 at 1221 Rodessa St, Nacogdoches, Texas where he contacted CARRILLO.              CARRILLO

 advised that the cocaine was on the arm of the living room couch in a cracker box. CI-152 paid

 CARRILLO $1800.00 for the cocaine and inquired about the firearm CI-152 had discussed with

 HIGUERA. CARRILLO informed CI-152 the firearm was stored in a vehicle outside the

 residence. CI-152 retrieved the firearm from the vehicle after CI-152 had paid CARILLO for

 the firearm.    Physical surveillance and consensually recorded conversations verified this

 transaction. This evidence was submitted to the Department of Public Safety Crime Lab where

 it was tested and it was in fact 85.70 grams of cocaine.

        On January 17, 2006, surveillance was initiated on HIGUERA. HIGUERA drove to a

 residence located at the corner of Texas Highway 103 West and Texas Highway 706 in Lufkin,

 Texas. HIGUERA was then followed to 2415 Pettit St, Nacogdoches, Texas. HIGUERA was

 then followed to 1501 W. Main, Nacogdoches, Texas where he met with two other individuals.

 HIGUERA and the other individuals left in separate vehicles, the unidentified driver of a gray


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 Ford truck was stopped on traffic violations and identified as SOLARES.         Multiple wire

 intercepts were obtained identifying SOLARES as a narcotics trafficker.

        On January 19, 2006, SA Benavides purchased approximately three ounces of cocaine

 from VEGA in the parking lot of the El Castillo Club 2003 on U.S. Highway 59 South in

 Nacogdoches, Texas. Physical surveillance and consensually recorded conversations verified

 this transaction. This evidence was submitted to the Department of Public Safety Crime Lab

 where it was tested and it was in fact 83.99 grams of cocaine.

        On January 24, 2006, during a wire intercept REYES inquired as to how much

 HIGUERA would charge him for delivering the "shit" (referring to cocaine) to Oklahoma and

 for bringing back the "paperwork" (meaning cash) from Oklahoma. HIGUERA calculated that

 the "four" (meaning four kilograms of cocaine) that were previously delivered would mean that

 HIGUERA would be bringing back "sixty-eight pesos" (meaning $68,000.00). HIGUERA told

 REYES that he would charge him $250 for each one (meaning each kilogram of cocaine that

 had been delivered) but then HIGUERA reduced the delivery charge to a total of $800 and

 stated that REYES would get sixty-seven and some odd (meaning $67,200). Then REYES

 inquired as to which vehicle HIGUERA would be taking on this trip to Oklahoma. HIGUERA

 stated that he would be taking the small one (investigators conducting surveillance observed

 HIGUERA driving a green Chevrolet Cavalier with Texas license plate Y25 KYB) unless

 REYES wanted HIGUERA to take the white one (meaning the white Lincoln Towncar with

 Texas license plate 643 FPK). REYES then expressed his desire to have a vehicle modified in

 Monterrey, Mexico, so that the cash and/or drugs could be secreted in a hidden compartment.


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 REYES discussed getting the boat thing going with "this guy over there" (REYES is referring to

 utilizing INGRAM to transport marijuana from South Texas). REYES             again inquired of

 HIGUERA about acquiring a hidden compartment from "that fella". REYES then discussed

 getting a vacuum sealing machine for sealing up the narcotics to make them more compact.

 REYES discussed calculating "the ticket" (meaning the price per kilogram to be charged for the

 drugs that were going to be delivered to Oklahoma.). HIGUERA advised REYES that the

 customer would agree to pay $16,500 per kilogram if they don't cut it up (meaning to open up

 the sealed kilograms of cocaine to add an inert agent to increase the quantity and thus increase

 the profit margin). REYES asked HIGUERA about SOLARES. HIGUERA told REYES that

 he would call SOLARES and ask SOLARES to call his boss to determine when SOLARES

 could arrange a delivery of cocaine.

        On January 25, 2006, HIGUERA was en route to Oklahoma City, Oklahoma to transport

 narcotics and return with cash proceeds. Agents observed the green Chevrolet Cavalier, Texas

 license plate T25-YKB, known to be driven by HIGUERA, parked at 800 Lexington St #107,

 Norman, Oklahoma.

        On January 26, 2006, at approximately 10:30 a.m., Agents observed HIGUERA with an

 unidentified Hispanic male departing the residence located at 800 Lexington St #107, Norman,

 Oklahoma.

        On January 26, 2006, during a wire intercept between HIGUERA and REYES,

 HIGUERA advised that SOLARES wanted HIGUERA to ask "his boss" (meaning REYES)

 for some money to give to SOLARES so that he could bring "a whole one" (meaning a kilogram


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 of cocaine) as a sample. In lieu of giving money to SOLARES, HIGUERA and REYES

 decided that HIGUERA would travel to Mexico with SOLARES to arrange the narcotics

 shipment from Mexico to Texas.

        On January 27, 2006, after negotiating with HIGUERA over the phone, CI-152

 purchased approximately three ounces of cocaine from an individual associated with

 HIGUERA.        Physical surveillance and consensually recorded conversations verified this

 transaction. This evidence was submitted to the Department of Public Safety Crime Lab where

 it was tested and it was in fact 81.20 grams of cocaine.

        On January 30, 2006, surveillance of HIGUERA was established and maintained

 following HIGUERA to the intersection of Texas Highway 103 and Texas Highway 706, where

 HIGUERA met with two individuals. Wire intercepts revealed HIGUERA was traveling to

 Oklahoma City, Oklahoma to transport narcotics and collect cash proceeds from co-conspirators

 in Oklahoma City, Oklahoma. Surveillance was maintained on HIGUERA and his unidentified

 companion through North Texas while HIGUERA was enroute to Oklahoma.

        On February 3, 2006, after negotiating with HIGUERA over the phone, CI-152

 purchased approximately two ounces of cocaine from an individual in Nacogdoches, Texas.

 During the transaction, CI-152 met the individual outside the residence at 1221 Rodessa St.,

 Nacogdoches, Texas and asked CI-152 how much cocaine CI-152 wanted. CI-152 advised the

 individual he needed two ounces and the individual returned to the residence where he met

 CARRILLO inside the residence.              Shortly thereafter, the individual returned with

 approximately two ounces of cocaine for CI-152. CI-152 paid the individual $1300.00 for the


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 cocaine and departed the location.         Physical surveillance and consensually recorded

 conversations verified this transaction. This evidence was submitted to the Department of Public

 Safety Crime Lab where it was tested and it was in fact 55.81 grams of cocaine.

        On February 7, 2006, a federal court ordered wire intercept was initiated on the telephone

 utilized by REYES to conduct narcotics transactions.

        On February 9, 2006, after negotiating with HIGUERA over the phone, CI-152

 purchased approximately two ounces of cocaine, an assault rifle, and a pistol from an individual

 at 1221 Rodessa, Nacogdoches, Texas. During the transaction the individual met CI-152 at

 Rodessa St and advised CI-152 to follow the individual to a remote county road where CI-152

 purchased the narcotics and firearms.       Physical surveillance and consensually recorded

 conversations verified this transaction. This evidence was submitted to the Department of Public

 Safety Crime Lab where it was tested and it was in fact 54.15 grams of cocaine.

        On February 16, 2006, Texas Department of Public Safety (DPS), Sergeant (Sgt.) Mike

 McClain, working in a undercover capacity purchased three ounces of cocaine and one pound of

 marijuana from MOYEDA and AGUILAR.                During the transaction, DPS Sgt. McClain

 followed MOYEDA to 316 Falcon Ave, where MOYEDA obtained the narcotics from

 AGUILAR. MOYEDA delivered the narcotics to Sgt. McClain. Physical surveillance and

 consensually recorded conversations verified this transaction. This evidence was submitted to

 the Department of Public Safety Crime Lab where it was tested and it was in fact 82.13 grams of

 cocaine.

        On February 23, 2006, Sgt. McClain purchased three ounces of cocaine from MOYEDA


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 and AGUILAR. During the transaction, agents surveilled AGUILAR’s residence and observed

 MOYEDA pick up the narcotics from AGUILAR’s residence prior to the delivery by

 MOYEDA to Sgt. McClain. Physical surveillance and consensually recorded conversations

 verified this transaction. This evidence was submitted to the Department of Public Safety Crime

 Lab where it was tested and it was in fact 81.57 grams of cocaine.

        On February 23, 2006, during a wire intercept between REYES and GUTIERREZ,

 REYES advised GUTIERREZ that it would be good if GUTIERREZ lined his people up so

 GUTIERREZ could get a good amount of marijuana. GUTIERREZ mentioned that he had

 three people that could sell stuff for him and he was hoping that he could eventually get to the

 point where he was selling fifty pounds a week with the people that he had lined up. REYES

 was prepared to give GUTIERREZ one kilogram of cocaine, some methamphetamine, and

 about 200 pounds of marijuana. REYES would give GUTIERREZ a month to sell the drugs

 and have GUTIERREZ pay him every Monday what ever money GUTIERREZ had collected.

        Again, on February 23, 2006, during a wire intercept between REYES and

 GUTIERREZ, REYES instructed GUTIERREZ to contact "Beto" so that REYES can send a

 kilograms of cocaine to "Beto". REYES told GUTIERREZ to negotiate the price but if "Beto"

 wants to pay $18,000.00 then REYES will send the cocaine up there but GUTIERREZ will be

 the man doing everything over there.

        On February 26, 2006, wire intercepts revealed the organization had received a large

 delivery of narcotics in Nacogdoches, Texas. The wire intercepts revealed that SOLARES had

 obtained the narcotics delivery at 1501 W. Main St, Nacogdoches, Texas. The intercepted


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 conversation between SOLIS and REYES provided information that REYES was traveling to

 inspect the recently received narcotics. Agents conducted a surveillance of REYES departing

 1314 Virginia, Nacogdoches, Texas and traveled directly to 1501 W. Main, Nacogdoches, Texas

 where REYES remained for several minutes. Agents observed REYES leaving the residence

 carrying a duffle bag which he put in his white Chevrolet Tahoe and returned directly to 1314

 Virginia, Nacogdoches, Texas. A short time later, REYES was observed placing what appeared

 to be the same duffle bag in a small blue car parked adjacent to the residence at 1314 Virginia,

 Nacogdoches, Texas. (This we know from a previous wire intercept is commonly used by Reyes

 to receive money). REYES departed 1314 Virginia, Nacogdoches, Texas and returned to 1501

 W. Main, Nacogdoches, Texas.       Approximately ten minutes later SOLIS, arrived at 1314

 Virginia, Nacogdoches, Texas, walked over to the blue vehicle looked inside the vehicle and

 departed 1314 Virginia, Nacogdoches, Texas. REYES departed 1501 W. Main, Nacogdoches,

 Texas and returned directly to 1314 Virginia, Nacogdoches, Texas. Approximately ten minutes

 later SOLIS arrived at 1314 Virginia, Nacogdoches, Texas and had a conversation with REYES

 in the carport located at 1314 Virginia, Nacogdoches, Texas for several minutes. Upon SOLIS’

 departure from 1314 Virginia, Nacogdoches, Texas, SOLIS retrieved the duffle bag from the

 blue car adjacent to the residence. SOLIS traveled with an unidentified Hispanic female and

 young child directly to a residence on Nacogdoches County Road 6102 where he droped off the

 unidentified Hispanic female and young child. SOLIS continued to a residence located at Box

 325 Nacogdoches County Road (NCR) 6101 where he met with several unidentified Hispanic

 males for several minutes. SOLIS departed Box 325 NCR 6101 and drove south on U.S.


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 Highway 59 to Lufkin, Texas. Agents followed SOLIS to 308 Riveroak Rd., Lufkin, Texas

 where they eventually terminated the surveillance.

        On February 26, 2006, there was an intercepted conversation between REYES and

 ALVAREZ. REYES asked ALVAREZ if he was going to get some wal-mart (wal-mart is a

 code word for cocaine) because REYES is going to get rid of it. ALVAREZ told REYES yes

 and that he had already worked the stuff that REYES gave him. They had a discussion about

 whether or not REYES had cut up the stuff that REYES had given to ALVAREZ because the

 people from around Palestine where complaining about it.        REYES denied cutting up the

 narcotics.

        On March 1, 2006, there was an intercepted conversation between REYES and

 AGUILAR. They discussed SOLIS receiving two hundred pounds of marijuana. AGUILAR

 agreed to take one hundred pounds of the marijuana and will try and sell it for either $275.00 or

 $310.00. The price fluctuated because some of the marijuana was not good quality.

        On March 2, 2006, Sgt. McClain, working in an undercover capacity, purchased

 approximately two ounces of cocaine from MOYEDA. Physical surveillance and consensually

 recorded conversations verified this transaction. This evidence was submitted to the Department

 of Public Safety Crime Lab where it was tested and it was in fact 54.77 grams of cocaine.

        On March 3, 2006, GUTIERREZ was stopped in Pearl City, Mississippi by Scott Kelly,

 an Investigator for the Pearl City Police Department, for no tag light. While conducting his

 traffic investigation Investigator Kelly asked for and received consent to search the vehicle

 driven by GUTIERREZ. A search of the vehicle resulted in the seizure of $27,900.00 in cash.


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 This was in a Wal-mart bag underneath the back seat of the vehicle. GUTIERREZ was arrested

 and charged with money laundering.

        On March 3, 2006, a wire intercept conversation of REYES related that a traffic stop on

 GUTIERREZ, in Pearl City, Mississippi had resulted in the seizure of $29,000.00 in cash. This

 was the cash proceeds of REYES and his drug trafficking organization. Surveillance of REYES

 witnessed REYES outside his residence during this recorded wire intercept.

        On March 4, 2006, a wire intercept revealed that REYES was on his way to meet

 SOLIS. Surveillance of REYES was initiated at the El Castillo Club 2003 on U.S. Highway 59

 South and maintained until REYES arrived at 308 Riveroak, Lufkin, Texas. REYES departed

 308 Riveroak and returned directly to the El Castillo Club 2003 on U.S. Highway 59 South.

        On March 5, 2006, after negotiating with HIGUERA over the phone, CI-152 purchased

 approximately two ounces of cocaine from two unidentified Hispanic males at 2415 Pettit St,

 Nacogdoches, Texas.     CI-152 wearing covert video surveillance recorded the unidentified

 Hispanic males retrieved the two ounces of cocaine from a vehicle on the curtilage of 2415 Pettit

 St., Nacogdoches, Texas. This evidence was submitted to the Department of Public Safety

 Crime Lab where it was tested and it was in fact 56.53 grams of cocaine.

        March 6, 2006, SA Benavides purchased approximately three ounces of cocaine from

 VEGA in the parking lot of the El Castillo Club 2003. Ariel surveillance followed VEGA from

 the delivery at the El Castillo Club 2003 to his residence located at 1359 Farm to Market Road

 843, Lufkin, Texas. Physical surveillance and consensually recorded conversations verified this

 transaction. This evidence was submitted to the Department of Public Safety Crime Lab where


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 it was tested and it was in fact 82.68 grams of cocaine.

        On March 9, 2006, CI-152 purchased approximately two ounces of cocaine and a assault

 pistol from HIGUERA in front of 2415 Pettit, Nacogdoches, Texas. Just prior to HIGUERA’s

 arrival at 2415 Pettit, Nacogdoches, Texas, CI-152 contacted CARRILLO in person at 2410

 Pettit, Nacogdoches, Texas. CARRILLO contacted HIGUERA, by telephone, and advised CI-

 152 HIGUERA was on his way. HIGUERA arrived in front of 2415 Pettit, Nacogdoches,

 Texas, where CI-152 was awaiting his arrival. CI-152 retrieved the firearm and cocaine from the

 vehicle HIGUERA was diving, completed the transaction and departed 2415 Pettit,

 Nacogdoches, Texas.       After the transaction was completed agents observed the vehicle

 HIGUERA was driving parked in the driveway of 2410 Pettit St, Nacogdoches, Texas. This

 evidence was submitted to the Department of Public Safety Crime Lab where it was tested and it

 was in fact 56.53 grams of cocaine.

        On March 24, 2006, at Lufkin, Texas, Sergeant McClain made a drug purchase of one

 quarter kilogram of cocaine from AGUILAR and MOYEDA.                Physical surveillance and

 consensually recorded conversations verified this transaction. This evidence was submitted to

 the Department of Public Safety Crime Lab where it was tested and it was in fact 251.43 grams

 of cocaine.

        On April 13, 2006, CI-152 purchased approximately two ounces of cocaine from an

 individual that HIGUERA described to CI-152 as HIGUERA’s right hand man and the

 individual HIGUERA had left in charge of drug distribution in HIGUERA’s absence. CI-152

 purchased the two ounces at 2415 Pettit St, Nacogdoches, Texas. (the unidentified individual


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 was later identified as ROMERO-FRAUSTO during a traffic stop. ROMERO-FRAUSTO’s

 residence is listed in DPS records as 2410 Pettit St, Nacogdoches, Texas.) Physical surveillance

 and consensually recorded conversations verified this transaction. This evidence was submitted

 to the Department of Public Safety Crime Lab where it was tested and it was in fact 55.35 grams

 of cocaine.

        On April 20, 2006, Sgt. McClain, working in an undercover capacity, purchased

 approximately one quarter kilogram of cocaine from MOYEDA. Subsequent to the delivery by

 MOYEDA, AGUILAR was stopped after committing a traffic violation and found to be in

 possession of approximately two pounds of marijuana. A search warrant was executed at 316

 Falcon Ave, Lufkin, Texas (the residence of AGUILAR) where approximately sixty grams of

 cocaine, one pound of marijuana, twenty six thousand three hundred and thirty dollars in U.S.

 currency and two firearms were recovered. Subsequent to the previous operations a knock and

 talk was initiated at 160 Lariat Ln, Lufkin, Texas. Surveillance revealed that this residence was

 associated with AGUILAR and MOYEDA’s illegal drug activities. Consent to search was

 obtained from the residents at 160 Lariat Ln. Approximately 108 pounds of marijuana and 863

 grams of cocaine, eight firearms, digital scales and a hydraulic press used to compact marijuana

 were recovered during the search at 160 Lariat Lane. RAMOS was storing the narcotics for

 AGUILAR. This evidence was submitted to the Department of Public Safety Crime Lab where

 it was tested and it was in fact 1,168.45 grams of cocaine and 104 pounds of marijuana.

        On April 24, 2006, Special Agent contacted VEGA by telephone whereby they discussed

 transporting large quantities of narcotics from the United States/Mexico border and/or from


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 Nacogdoches, Texas to points within the United States.

        On May 4, 2006, CI-152 purchased approximately two ounces of cocaine from

 ROMERO-FRAUSTO. CI-152 met ROMERO-FRAUSTO at 2415 Pettit St, Nacogdoches,

 Texas and was advised by ROMERO-FRAUSTO to meet him at the Exxon gas station located

 at the corner of Texas Highway 7 and Loop 224 East, Nacogdoches, Texas. CI-152 met with

 ROMERO-FRUASTO at the aforementioned location along with another unidentified Hispanic

 male where the narcotics transaction was completed. Physical surveillance and consensually

 recorded conversations verified this transaction.

        On May 9, 2006, agents observed VEGA at the residence of REYES located at 1314

 Virginia, Nacogdoches, Texas. SA Benavides contacted VEGA by telephone while agents were

 observing VEGA via remote surveillance. Agents observed VEGA and REYES meet and

 converse in the front of 1314 Virginia, Nacogdoches, Texas. A short time later contact was re-

 established with REYES via mobile surveillance as REYES was departing 1501 W. Main St,

 Nacogdoches, Texas.

        On May 10, 2006, SA Benavides met with VEGA to discuss transporting and

 distributing narcotics for the organization. VEGA directed SA Benavides to meet him at the gas

 station located directly across the highway from the El Castillo Club 2003 located off U.S.

 Highway 59 South in Nacogdoches, Texas. Agents observed REYES' vehicle at the El Castillo

 Club 2003 at the initiation of the surveillance.     SA Benavides met with VEGA and was

 instructed to follow VEGA to his residence located at 1359 FM 843, Lufkin, Texas. During this

 meeting, VEGA informed SA Benavides that he had buyers of cocaine in Georgia, Florida, and


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 New York; that he had buyers of marijuana in Alabama. He went on to state that he moves

 about 10 kilograms of cocaine a week. VEGA needs a driver to drive the narcotics to one of

 these states. He informed SA Benavides that from Houston to Lufkin he pays $5.00 a pound to

 transport the marijuana. From Lufkin to Alabama he will pay $15.00 a pound. That he delivers

 from 200 to 400 pounds of marijuana to his buyers in Alabama. During this meeting, VEGA

 indicated that he was working for REYES.

        On June 8, 2006, a federal search warrant was executed at VEGA'S residence, which is

 located at 1359 F.M. 843 in Angelina County, Texas. Items recovered included a black spiral

 notebook with what appeared to be a drug ledger, miscellaneous documents, photographs of this

 suspect and other co-defendants, other documents, indicia of ownership of the property,

 firearms, cellular telephones and cell phone records, documents related to interstate travel, rental

 car receipts. A safe was recovered in the bedroom that contained $40,950.00 in cash along with

 numerous documents including three spiral notebooks with narcotics related notes.

        On June 8, 2006, a federal search warrant was executed at REYES' residence, which is

 located at 1314 Virginia in the city of Nacogdoches, Texas. Items recovered included two

 vehicles purchased with drug proceeds. One vehicle had a hidden area in a seat that contained a

 bundle of cash later determined to be $19,380.00. Numerous documents and five cellular

 telephones.

        On June 8, 2006, a federal search warrant was executed at CARRILLO'S, which is

 located at 1221 Rodessa, Nacogdoches Texas. Items recovered included documents in the form

 of notes, personal phone books, spiral notebooks and several cellular phones.


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        On June 8, 2006, a federal search warrant was executed at HIGUERRA'S, which is

 located at 2415 Pettit in Nacogdoches, Texas. Items recovered included drug notes in the form of

 spiral notebooks, receipt books, photographs, titles to motor vehicles traded for narcotics, and

 several cellular telephones.

        On June 8, 2006, a federal search warrant was executed at SOLARES' residence, which

 is located at 1501 W. Main Street in Nacogdoches, Texas. Items recovered included documents

 in the form of handwritten notes found throughout the residence, firearms, photographs, and

 several cellular telephones.

        On June 8, 2006, in Norman, Oklahoma, FBI agents arrested VEGA, FRAUSTO, and

 CANEDO. Agents had observed all three depart from CANEDO's residence prior to being

 pulled over on a traffic stop. Then an Oklahoma state search warrant was executed at 1194 36th

 Ave. Northeast, Norman Oklahoma.          Items recovered included approximately        cocaine,

 marijuana, firearms, scales, packaging material, documents and indicia of ownership related to

 Miguel Canedo. This evidence was submitted to the Department of Public Safety Crime Lab

 where it was tested and it was in fact four kilograms of cocaine and 192 pounds of marijuana.

        Defendant, Rodolfo Aguilar, agreed with the above-stated facts and signed the Factual

 Resume. Counsel for Defendant and the Government attested to Defendant’s competency and

 capability to enter an informed plea of guilty.      The Defendant agreed with the evidence

 presented by the Government and personally testified that he was entering his guilty plea

 knowingly, freely and voluntarily.




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                                     RECOMMENDED DISPOSITION

          IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offenses charged in Count I of the charging Second Superseding Indictment

 on file in this criminal proceeding.             The Court also recommends that the District Court

 conditionally accept the plea agreement.1                 Accordingly, it is further recommended that,

 Defendant, Rodolfo Aguilar be finally adjudged as guilty of the charged offenses under Title 21,

 United States Code, Section 846.

          Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant

 that the District Court may reject his plea and that the District Court can decline to sentence

 Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

 presentence report because the sentencing guidelines are advisory in nature. The District Court


          1
            “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the
 extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included
 in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in
 Rule 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).


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 may defer its decision to accept or reject the plea agreement until there has been an opportunity

 to consider the presentence report. See FED . R. CRIM . P. 11(c)(3). If the Court rejects the plea

 agreement, the Court will advise Defendant in open court that it is not bound by the plea

 agreement and Defendant may have the opportunity to withdraw his guilty plea, dependent upon

 the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3)(B). If the plea agreement is

 rejected and Defendant still persists in the guilty plea, the disposition of the case may be less

 favorable to Defendant than that contemplated by the plea agreement. Defendant has the right to

 allocute before the District Court before imposition of sentence.

                                          OBJECTIONS

        Within ten (10) days after receipt of this report, any party may serve and file written

 objections to the report and recommendation of the Magistrate Judge pursuant to 28 U.S.C. §

 636(b)(1)(C). Failure to file written objections to the proposed findings of facts, conclusions of

 law and recommendations contained within this report within ten (10) days after service shall bar

 an aggrieved party from de novo review by the District Judge of the proposed findings,

 conclusions and recommendations, and from appellate review of factual findings and legal

 conclusions accepted by the District Court except on grounds of plain error. Douglass v. United

 Serv. Auto. Ass’n., 79 F.3d 1415 (5th Cir. 1996) (en banc); 28 U.S.C. § 636(b)(1).            The

 constitutional safeguards afforded by Congress and the courts require that, when a party takes

 advantage of his right to object to a magistrate’s findings or recommendation, a district judge

 must exercise its nondelegable authority by considering the actual evidence and not merely by

 reviewing and blindly adopting the magistrate’s report and recommendation. See Hernandez v.


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 Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir.

 1981) (per curiam).



                  SIGNED this the 5th day of March, 2007.




                                                      ____________________________________
                                                      KEITH F. GIBLIN
                                                      UNITED STATES MAGISTRATE JUDGE




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